Case: 1:06-Cv-O4481 Document #: 687 Filed: 05/21/18 Page 1 of 4 Page|D #:26030

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF
ILLINOIS EASTERN DIVISION

KENT EUBANK, JERRY DAVIS, RICKY
FALASCHETTI, RITA CICINELLI, ROBERT
JOSEPHBERG, JEFFREY AC'I`ON, KENNETH
HECHTMAN, JAMES NEIMAN, AMY
CHASIN and EDWARD RUH`NKE, individually
and on behalf of all others similarly situated;

Plaintiffs,

v.
PELLA CORPORATION, an Iowa corporation,
and PELLA WINDOWS AND DOORS, INC., a

Delaware corporation,

Defendants.

 

 

No.: 06 C 4481
Honorable Sharon Johnson Coleman

Class Action

_Pl_.AINTIFFS’ MOTION FOR ATTORNEYS’ FEES.
COSTSl AND SERVICE AWARDS

Plaintiffs, Kent Eubank, Jerry Davis, Ricky Falaschetti, Rita Cinelli, Robert Josephberg,

Jeffrey Acton, Kenneth Hechtman, J ames Neiman, Amy Chasin, and Edward Ruhnke, on behalf

of themselves and all others similarly situated (“Plaintiffs”), by and through the undersigned

counsel, move this Honorable Court for attorneys’ fees, costs, and service awards, and in support

thereof, state as follows:

1. Plaintiffs’ Counsel, namely, Robert A. Clifford, Shannon M. McNulty, George
Lang, John A. Yanchunis, Marcio W. Valladares, Joel R. Rhine and Edward R. l\/Ioor, have

performed significant work in this case on behalf of the classes. A Settlement is now pending.

(Docs. #671, 672)

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2. Clifford Law Offices and Morgan & Morgan Complex Litigation Group have
advanced litigation costs for the prosecution of this matter.l

3. The aforesaid Plaintiffs have dutifully served as Class Representatives in this
matter, with no promise of relief or award for their service. (Doc. #672-10).

4. For the reasons set forth more fully in Plaintiffs’ Plaintiffs’ Memorandum In
Support Of Motion For Attorneys’ Fees, Costs And Service Awards, Plaintiffs’ Counsel seek
attorneys’ fees, reimbursement of costs and service awards for the Class Representatives.

WHEREFORE, Plaintiffs seek entry of an Order by this Court directing payment of
attorneys’ fees consistent with the amounts set forth in Plaintiffs’ Memorandum, reimbursement
of costs consistent with the amounts provided in Plaintiffs’ Memorandum and service awards in

the amount of $25,000.00 for each Class Representative.

/s/ Shannon M. McNulQ
Robert A. Clifford

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1 The costs advanced by Clifford Law Offlces are set forth in Exhibit A to the Memorandum. The costs advanced by
Morgan & Morgan are set forth in Exhibit C to the Memorandum.

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CERTIFICATE OF SERVICE

I certify that on May 21, 2018, a copy of the foregoing PLAINTIFFS’ MOTION FOR
FEES, COSTS, AND SERVICE AWARDS was filed and served on all counsel of record via the
Court’s CM/ECF electronic filing system.

/s/ Shannon M. McNulty
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